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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

    AMERICAN PAINT BUILDING, LLC,                     No. 2:22-cv-3308

                          Plaintiff
                                                      Judge Sarah S. Vance
    v.

    INDEPENDENT SPECIALTY INSURANCE                   Magistrate Judge Donna Phillips
    COMPANY, CERTAIN UNDERWRITERS                     Currault
    AT LLOYD'S AND OTHER INSURERS
    SUBSCRIBING TO BINDING AUTHORITY
    B604510568622021, and INTERSTATE FIRE
    AND CASUALTY COMPANY

                          Defendants

         MEMORANDUM IN SUPPORT OF MOTION TO OPT OUT OF STREAMLINED
                           SETTLEMENT PROGRAM

           Defendants, Independent Specialty Insurance Company, Interstate Fire and Casualty

Company and Certain Underwriters at Lloyd’s, London and Other Insurers Subscribing to Binding

Authority No. B604510568622021, respectfully request that the Court permit the parties to opt out

of the Court's Streamlined Settlement Program ("SSP") because: (1) Plaintiff is required to

arbitrate its claims and the Court is not the proper forum for resolving the dispute; and (2)

participation in the SSP will increase the costs and time for resolving the dispute, which is contrary

to the purposes of arbitration.

           Plaintiff filed suit seeking to recover under a property insurance policy that contains a

provision requiring arbitration of the dispute. The arbitration provision is enforceable under the

Convention on the Recognition and Enforcement of Foreign Arbitral Awards, as well as the

Federal Arbitration Act.1 On May 16, 2023 Defendants filed a Motion to Compel Arbitration



1
    See also Defendants’ Motion to Compel Arbitration (Doc. 12)


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requesting that the Court compel arbitration and stay or, alternatively, dismiss these proceedings.

Because Plaintiff is required to arbitrate its claims, this Court is not the proper forum for resolution

of this dispute. The Motion was dismissed without prejudice by the Court as premature for failure

to Opt out of the SSP. (R. doc 15) Defendants file the instant motion and will refile the Motion to

Compel.

         The purpose of arbitration is to avoid the formality, expense, and procedures of litigation.

In particular, in "arbitration, parties forgo the procedural rigor and appellate review of the courts

in order to realize the benefits of private dispute resolution: lower costs, greater efficiency and

speed, and the ability to choose expert adjudicators to resolve specialized disputes."2 Participating

in the SSP will increase the costs and time for resolving the parties' disputes, which contravenes

the purposes of arbitration. In fact, these are the exact costs arbitration seeks to avoid.

         For this reason, courts in this Circuit are routinely permitting the parties to opt-out of the

SSP, when there is an arbitration provision.3 In so holding, Courts have reasoned that “the parties’

contract as well as binding precedent requires arbitration, and compelling arbitration will bring

this matter to resolution justly and expeditiously, in accordance with the CMO's objectives.”4




2
  Stolt-Nielsen S.A. v. AnimalFeeds Int'l Corp., 559 U.S. 662, 685 (2010). See also Gilmer v.
Interstate/Johnson Lane Corp., 500 U.S. 20, 31 (1991) ("by agreeing to arbitrate, a party 'trades
the procedures and opportunity for review of the courtroom for the simplicity, informality, and
expedition of arbitration.'”) (quoting Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc.,
473 U.S. 614, 628 (1985)).
3
  See 419 Carondelet, LLC v. Certain Underwriters at Lloyd's, London, No. CV 22-4311, 2023
WL 143318, at *2 (E.D. La. Jan. 10, 2023); Quality Housing, LLC v. Independent Specialty
Insurance Company, No. 2:22-CV-03774 (E.D. La. Jan. 26, 2023) (a copy is attached as Exhibit
A); 3501 N. Causeway Assocs., LLC v. Certain Underwriters at Lloyd's, London, No. CV 22-3787,
2023 WL 1765920, at *2 (E.D. La. Feb. 3, 2023)
4
    3501 N. Causeway Assocs., LLC No. CV 22-3787, 2023 WL 1765920, at *3.



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Indeed, the Court has found that requiring participation in the SSP would hinder, rather than

promote, the swift and just resolution of the matter.5

        In summary, the Court is not the proper forum for resolving this dispute because Plaintiff

is required to arbitrate its claims. Participation in the SSP is contrary to the purpose of arbitration

and deprives the parties of its benefits. For these reasons, Defendants respectfully request that the

Court grant Defendants’ Motion to Opt Out of the Streamlined Settlement Program.



                                               Respectfully submitted,

                                               WOOD, SMITH, HENNING & BERMAN LLP

                                                 /s/ Lori Barker
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  “While the Court finds it appropriate to enforce the carefully considered policies and
procedures as set forth in the CMO in order to promote the uniform and efficient administration
of justice in the myriad Hurricane Ida-related insurance disputes before the Court, the Court
nevertheless recognizes that, in certain cases, the efficient administration of justice dictates that
the Court give some flexibility to the parties, as appropriate.” 419 Carondelet, No. CV 22-4311,
2023 WL 143318, at *2.




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